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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MICHIGAN




Jesse Kennedy,

                                  Plaintiff(s),
v.                                                    Case No. 2:19−cv−10458−DPH−RSW
                                                      Hon. Denise Page Hood
Arbor Professional Solutions,
Inc., et al.,

                                  Defendant(s),



          ORDER OF REFERENCE TO UNITED STATES MAGISTRATE JUDGE

   IT IS ORDERED that this matter is referred to U.S. Magistrate Judge Whalen pursuant to
28 U.S.C. § 636(b)(3), for the following purpose(s):

     • Conduct settlement conference




                                                  s/Denise Page Hood
                                                  Denise Page Hood
                                                  United States District Judge



                                     Certificate of Service

   I hereby certify that on this date a copy of the foregoing notice was served upon the parties
and/or counsel of record herein by electronic means or first class U.S. mail.



                                                  s/L. Saulsberry
                                                  Case Manager

Dated: August 21, 2019
